         Case 1:24-cv-02826-TRJ         Document 1        Filed 06/26/24      Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


    John Dewberry,
    Plaintiff,

                                                                   Case No.
    v.

    City of Locust Grove, Officer J.
    Whitt, and Sgt. E Honea,
    Defendants.

                                  PETITION FOR REMOVAL

TO: The Judges of the United States District Court, Northern District of Georgia
         The Petition of Defendants City of Locust Grove, Officer J. Whitt, and Sgt.
         E. Honea respectfully shows the Court as follows:

                                                1.

         A civil action has been brought against the above-named Defendants in the

Superior Court of Henry County, Georgia, being Civil Action No.

SUCV2024001569, wherein the Plaintiff seeks recovery against Defendants under

42 U.S.C. § 1983.1




1
  The Plaintiff has brought Count V under what he erroneously labeled 28 U.S.C. § 1983
(Complaint at ¶ 50-54). While there is no such federal code section, the Plaintiff intends to bring
the counts under 42 U.S.C. § 1983, which does exist and fits what the Plaintiff is attempting to
say happened to him. The wrongful arrest claim sounds in 42 U.S.C. § 1983 and is clearly
intended as such. Count V of the Complaint raises a federal question.


                                                 1
       Case 1:24-cv-02826-TRJ      Document 1     Filed 06/26/24    Page 2 of 4




                                            2.

       This action raises a federal question as defined by 28 U.S.C. § 1331.

Accordingly, this action is removable to this Court pursuant to 28 U.S.C. § 1441, et

seq.

                                            3.

       The same counsel represents all three defendants. All defendants consent to

removal of the case to federal court.

                                            4.

       All parties are citizens of the State of Georgia. And the action was brought

in the Superior Court of Henry County, which is in the Northern District of

Georgia. Defendants attach copies of the following documents that were filed in

the Superior Court of Henry County:

       Exhibit A    Complaint.

       Exhibit B    Summons for the City of Locust Grove.

       Exhibit C    Summons for Officer J. Whitt.

       Exhibit D    Summons for Sgt. E. Honea.

       Exhibit E    Case Initiation Form.

       Exhibit F    Sheriff’s Entry of Service for City of Locust Grove.

       Exhibit G    Sheriff’s Entry of Service for Sgt. E. Honea.

       Exhibit H    Sheriff’s Entry of Service for Officer J. Whitt.



                                            2
       Case 1:24-cv-02826-TRJ      Document 1    Filed 06/26/24   Page 3 of 4




      Exhibit I    Answer.

      Exhibit J    Acknowledgement of Service for the City of Locust Grove.

      Exhibit K    Acknowledgement of Service for Sgt. E. Honea.

      Exhibit L    Acknowledgement of Service for Officer J. Whitt.

                                         5.

      Now within thirty (30) days after receipt of Plaintiff’s Complaint,

Defendants City of Locust Grove, Officer J. Whitt, and Sgt. E. Honea hereby

remove the within action to the U.S. District Court for the Northern District of

Georgia, Atlanta Division, pursuant to 28 U.S.C. § 1446.

                                         6.

      Defendants will file a Notice of Removal in the Superior Court of Henry

County, Georgia, advising that the within action has been removed to the U.S.

District Court for the Northern District of Georgia.

      WHEREFORE, Defendants hereby file the within Petition for Removal to

this Honorable Court.

                                                            Respectfully Submitted,
                                                                     /s/ J. Scott Key
                                                                         J. Scott Key
                                                            Attorney for Defendants
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                                          3
      Case 1:24-cv-02826-TRJ        Document 1   Filed 06/26/24   Page 4 of 4




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 John Dewberry,
 Plaintiff,

                                                         Case No.
 v.

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 Whitt, and Sgt. E Honea,
 Defendants.

                            CERTIFICATE OF SERVICE

      I certify that I have served an accurate and true copy of the following, by e-
mailing a copy of the same to opposing counsel and through the CM/ECF system:

                               Matthew W. Carlton
                             CARLTON LAW, LLC
                          125 Clairemont Ave., Suite 470
                               Decatur, GA 30030
                                 (404) 458-4084
                            mcarlton@carlton-law.net

      This 26th day of June 2024.
                                                                     /s/ J. Scott Key
                                                                         J. Scott Key
                                                            Attorney for Defendants
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